This is a motion to dismiss the appeal on the ground that the notice of appeal was filed too late. It is submitted to us upon the motion and brief of respondent only, the appellant having failed to file any reply.
[1] From the certificate of the county clerk it appears that the judgment appealed from was entered on July 15, 1926, and that the notice of appeal was filed on April 9, 1927, and more than sixty days after the entry of judgment. No proceedings for a new trial were begun. Section 939 of the Code of Civil Procedure provides that "An appeal may be taken from any judgment . . . within sixty days from the entry of said judgment." It has been uniformly held that the appeal must be taken within the time prescribed by law, otherwise the appellate court is without *Page 764 
jurisdiction to entertain it. (Lancel v. Postlethwaite,172 Cal. 326 [156 P. 486].)
Appeal dismissed.
Works, P.J., and Craig, J., concurred.